      Case 1:18-cv-00773-SCY-KBM Document 11 Filed 08/15/18 Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


NEW MEXICO HEALTH CONNECTIONS,
a New Mexico Non-Profit Corporation,

       Plaintiff,

vs.                                                   Case No. 1:18-cv-00773 SCY/KBM

UNITED STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES, CENTERS FOR
MEDICARE AND MEDICAID SERVICES,
ALEX M. AZAR, II, Secretary of the United States
Department of Health and Human Services, in his
official capacity; and SEEMA VERMA,
Administrator for the Centers for Medicare and
Medicaid Services, in her official capacity,

       Defendants.


NEW MEXICO HEALTH CONNECTIONS,
a New Mexico Non-Profit Corporation,

               Plaintiff,

v.                                                   Case No. 1:16-cv-00878 JB/WPL

UNITED STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES; CENTERS FOR
MEDICARE AND MEDICAID SERVICES;
THOMAS E. PRICE, M.D., Secretary of the United
States Department of Health and Human Services, in
his official capacity; and PATRICK CONWAY,
Acting Administrator for the Centers for Medicare
and Medicaid Services, in his official capacity,

               Defendants.


                              MOTION TO CONSOLIDATE
      Case 1:18-cv-00773-SCY-KBM Document 11 Filed 08/15/18 Page 2 of 6



       Plaintiff New Mexico Health Connections moves to consolidate the above captioned

actions pursuant to Federal Rule of Civil Procedure 42(a).

                                       BACKGROUND

       The cases captioned above arise out of rulemaking and other administrative procedure

undertaken by the United States Department of Health and Human Services (“HHS”) and the

Centers for Medicare and Medicaid Services (“CMS”) after the passage of the Patient Protection

and Affordable Care Act (“ACA”), Pub. Law No. 111-148, 42 U.S.C. § 180001 et seq. The two

actions captioned above focus on CMS’s and HHS’s administrative actions as to the Risk

Adjustment program under the ACA.

       On July 29, 2016, NMHC filed a complaint in the United States District Court for the

District of New Mexico, Case No. 1:16-cv-00878 JB/WPL (“Lead Case”), assigned to the

Honorable Judge Browning, challenging the Risk Adjustment program on numerous grounds

under the Administrative Procedure Act (“APA”). On February 28, 2018, after voluminous

briefing and lengthy oral argument, the Court sustained NMHC’s challenge in part, finding the

agency’s justifications for using the statewide average premium in the Risk Adjustment formula

were arbitrary and capricious. The Court consequently vacated the Risk Adjustment regulations

for benefit years 2014-2018 and remanded the matter back to the agency. See, New Mexico Health

Connections v. United States Dept. of Health and Human Servs., No. 16-878, 2018 U.S. Dist.

LEXIS 32908, *86-87 (D.N.M. Feb. 28, 2018).

       On July 7, 2018, HHS acknowledged that the Court had vacated the 2017 Risk Adjustment

regulation, which meant that the agency did not have a program in-force for the 2017 benefit year.

Invoking the “emergency” rule, HHS issued a new Final rule for the Risk Adjustment program for

benefit year 2017 (the “2017 Rule”) without prior notice or an opportunity to comment. On August



Motion to Consolidate                                                                           2
      Case 1:18-cv-00773-SCY-KBM Document 11 Filed 08/15/18 Page 3 of 6



13, 2018, NMHC filed a complaint in the United States District Court for the District of New

Mexico, Case No. 1:18-cv-00773, currently assigned to Magistrates Steven C. Yarborough and

Karen B. Molzen, challenging the 2017 Rule both for failure to follow the notice and comment

rulemaking process and as substantively flawed.

       As set forth below, both actions share common parties, facts, and legal issues such that

consolidation of these matters would prevent inconsistent rulings and generally promote judicial

efficiency.

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 42(a), “[i]f actions before the court involve common

questions of law or fact, the court may…consolidate the actions…” Fed. R. Civ. P. 42(a). District

courts have “broad discretion” in determining whether to consolidate cases. Gillette Motor Transp.

V. N. Okla. Butane Co., 179 F.2d 711, 712 (10th Cir. 1950). Provided that the “cases involve

common questions of law and fact,” consolidation is generally proper if the “district judge finds

that it would avoid unnecessary costs or delay.” St. Bernard Gen. Hosp., Inc. v. Hosp. Serv. Ass’n

of New Orleans, Inc., 712 F.2d 978, 989 (5th Cir. 1983) (cited with approval in Servants of

Paraclete, Inc. v. Great Am. Ins. Co., 866 F. Supp. 1560, 1572 (D.N.M. 1994)). In deciding

whether consolidation is appropriate, the court should “weigh the interests of judicial convenience

in consolidating the cases against the delay, confusion, and prejudice consolidation might cause.”

Servants of Paraclete, Inc., 866 F. Supp. at 1572. In sum, Rule 42(a) is meant to “give the district

court broad discretion to decide how cases on its docket are to be tried so that the business of the

court may be dispatched with expedition and economy while providing justice to the parties.” 9A

Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2381 (3d ed.).




Motion to Consolidate                                                                             3
       Case 1:18-cv-00773-SCY-KBM Document 11 Filed 08/15/18 Page 4 of 6



                                                 ARGUMENT

        Consolidation of the above-captioned cases is appropriate because the cases involve

common questions of law and fact and because consolidation would conserve judicial resources

while providing justice to all parties.

        As an initial matter, the cases share common parties as well as an identical set of core

facts.1 Both matters arise out of HHS’ promulgation of rules establishing Risk Adjustment

calculations for the benefit year 2017 (the subject year of the 2018 case).                         Additionally,

consolidation would promote efficiency of time and judicial resources because Judge Browning

has considered and ruled on voluminous briefing and lengthy oral argument on HHS’ promulgation

of Risk Adjustment calculations for the benefit year 2017 and is therefore significantly familiar

with the issues present in both cases. Given that Judge Browning has already ruled that the

agency’s justifications for using the statewide average premium in the Risk Adjustment formula

were arbitrary and capricious, consolidation is appropriate under these circumstances to avoid the

potential for inconsistent legal rulings. Lastly, there is no danger of unfair prejudice or that any

party’s interest will not be fully protected should the Court grant this motion.

        Defendants do not take a position on this motion because they are unaware of evidence

that the Complaint has been served under Fed. R. Civ. P. 4.

                                               CONCLUSION

        For the foregoing reasons, the NMHC respectfully moves the Court to enter an Order

consolidating the two cases captioned above and further that:

        1.       Except as the Court otherwise may order, filings shall be made in the Lead Case,



        1
          Plaintiff is represented by the same counsel in both cases. The United States Department of Justice
represents Defendants in both cases.


Motion to Consolidate                                                                                           4
      Case 1:18-cv-00773-SCY-KBM Document 11 Filed 08/15/18 Page 5 of 6



       Case No. 1:16-cv-00878 JB/WPL, with the Honorable Judge Browning presiding.

       2.      The Court will set a single case management schedule to govern the consolidated

               actions.


 Dated: August 15, 2018
                                             /s/ Nancy R. Long
                                             Nancy R. Long
                                             LONG, KOMER & ASSOCIATES, PA
                                             2200 Brothers Road/PO Box 5098
                                             Santa Fe, NM 87502
                                             (505) 982-8405
                                             nancy@longkomer.com
                                             email@longkomer.com
                                             vmarco@longkomer.com

                                             Barak A. Bassman
                                             Sara B. Richman
                                             Leah Greenberg Katz
                                             PEPPER HAMILTON LLP
                                             3000 Two Logan Square
                                             Eighteenth and Arch Streets
                                             Philadelphia, PA 19103-2799
                                             215-981-4000
                                             bassmanb@pepperlaw.com
                                             richmans@pepperlaw.com
                                             katzl@pepperlaw.com

                                             Marc D. Machlin
                                             PEPPER HAMILTON LLP
                                             Hamilton Square
                                             600 Fourteenth Street, N.W.
                                             Washington, D.C. 20005-2004
                                             202-220-1200
                                             machlinm@pepperlaw.com

                                             Attorneys for Plaintiff




Motion to Consolidate                                                                            5
      Case 1:18-cv-00773-SCY-KBM Document 11 Filed 08/15/18 Page 6 of 6



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 15th day of August 2018 the foregoing

Motion to Consolidate was electronically filed with the Clerk of Court using the CM/ECF

system.

       I FURTHER CERTIFY that I served a copy of the forgoing via email to the following

counsel:

James R. Powers
U.S. Department of Justice
Civil Division | Federal Programs Branch
20 Massachusetts Ave., N.W.
Washington, D.C. 20530
Telephone: (202) 353-0543
james.r.powers@usdoj.gov



                                                          /s/ Nancy R. Long
                                                          NANCY R. LONG




Motion to Consolidate                                                                        6
